 8:05-cr-00254-LSC-FG3       Doc # 91     Filed: 12/12/07      Page 1 of 1 - Page ID # 297




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:05CR254
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                     ORDER
                                              )
MICHAEL HAMBRIGHT,                            )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to compel his attorney to

send him copies of his discovery material (Filing No. 90).

       IT IS ORDERED that the Defendant’s motion to compel his attorney to send him

copies of his discovery material (Filing No. 90) is denied.

       DATED this 12th day of December, 2007.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
